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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
     Grace Galloway, Any Lesko, and Brenda Shoss,
10   individually and on behalf of all others similarly      NO. 2:16-cv-1941-JCC
     situated,
11
                                                             PLAINTIFFS' FIRST AMENDED
12                         Plaintiffs,                       COMPLAINT -- CLASS ACTION
                                                             FOR DAMAGES
13                             vs.
                                                             DEMAND FOR JURY TRIAL
14   VALVE CORPORATION, a Washington
     corporation,
15
                            Defendant.
16

17
                 PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT
18
            Plaintiffs Grace Galloway, Andy Lesko, and Brenda Shoss, individually and on behalf of
19
     all others similarly situated, for their First Amended Class Action Complaint against Defendant
20

21   Valve Corporation state as follows:

22                                       NATURE OF THE CASE

23          1.      Defendant Valve Corporation (“Valve”), a Bellevue, Washington-based video
24
     game and online content platform corporation, does business in Washington through the internet
25
     with individuals in Washington and across the United States.
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            2.      Valve does not have a license to operate, facilitate or otherwise engage in any form


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 1                                                    KOEHLER MOORE
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                                                                                 Tel: 360-533-271
 1   of gambling whatsoever.

 2              3.      This case arises from Valve’s illegal online gambling that resulted in Plaintiffs’

 3   children and other parents’ and guardians’ children engaging in online gambling on Valve’s
 4   platform and with Valve’s digital items.
 5
                4.      On October 5, 2016, the State of Washington’s Gambling Commission announced
 6
     that it had sent Valve a Cease and Desist letter on September 27, 2016. This letter stated that
 7
     Valve’s actions, and its refusal to act, had created, maintained, and facilitated a gambling
 8

 9   ecosystem, targeted at teenagers, through its Steam Marketplace platform (“Steam”) and video

10   games such as Counter Strike: Global Offensive (“CS:GO”). The letter showed that Valve knew

11   as early as February 2016, and potentially even earlier, that its actions and inactions created these
12
     problems and that such a gambling ecosystem was illegal under Washington law.
13
                5.      Beginning in 2013, Valve began selling digital items called “Skins” that could be
14
     and in fact were sold for and exchanged for real money and property.
15
                6.      Skins became the primary currency used by illegal, unregulated, and unlicensed
16

17   online gambling websites, and Valve profited handsomely from the use of its virtual items for

18   online gambling.
19              7.      CS:GO is a world-wide video game phenomenon, attaining such popularity that
20
     the cable channel TBS broadcasts competitive CS:GO league matches on Friday nights. More
21
     than 380,000 people play CS:GO worldwide at any given time. 1 Websites such as Twitch also
22
     stream live CS:GO matches to significant audiences.
23

24              8.      While CS:GO is the primary source of online gambling, other Valve games,

25   including DOTA2 and TF2, both offer illegal online gambling crate opening games, and these

26
     1
         http://www.bloomberg.com/features/2016-virtual-guns-counterstrike-gambling/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                   STRITMATTER KESSLER
     ACTION FOR DAMAGES - 2                                                             KOEHLER MOORE
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 1   items can be gambled online and/or sold for real money just like Skins. Plaintiffs’ losses stem

 2   from these games as well. Throughout this Complaint, Skins refers not just to CS:GO Skins but

 3   the equivalent virtual items that are things of value in other Valve games such as DOTA2 and
 4   TF2.
 5
               9.         On information and belief, minor children in all fifty states, including tens of
 6
     thousands in the state of Washington, have played and continue to play CS:GO and other games
 7
     with lootbox games and virtual items through Valve’s Steam platform, and routinely engage in
 8

 9   illegal skins gambling.

10             10.        Valve facilitated illegal, unregulated and unlicensed online gambling of Skins in

11   numerous ways.
12
               11.        Valve sells users tokens called “keys” for $2.99. The only purpose of which is to
13
     allow users to engage in gambling through opening “weapons cases” commonly known as
14
     “crates”, also supplied by Valve. Purchasing a “key” allows players to engage in a game of
15
     chance indistinguishable from playing a slot machine. Purchasing a “key” to open a crate gives
16

17   players the chance to win virtual items that may be worth much more than the value of the “key,”

18   or to win virtual items with effectively de minimis value. The look, feel, sound and experience of
19   opening crates was equivalent to an online slot machine, as seen in the following YouTube
20
     videos:
21
                     a. https://youtu.be/7Z4-s2VdpUE?t=72
22                   b. https://www.youtube.com/watch?v=oqle-lQjac8
                     c. https://youtu.be/mDgTRd4mM9U
23                   d. https://www.youtube.com/watch?v=eug9Q6hXfWo&t=2s
24                   e. https://www.youtube.com/watch?v=tWuE-n5pSGc
                     f. https://www.youtube.com/watch?v=4QExMwc9rW0
25                   g. https://www.youtube.com/watch?v=pyeapEaSh3o
                     h. https://www.youtube.com/watch?v=xULwQZhUFVE (DOTA 2 virtual item
26                      gambling)
                     i. https://www.youtube.com/watch?v=yO_pVJZgsRA


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                              STRITMATTER KESSLER
     ACTION FOR DAMAGES - 3                                                        KOEHLER MOORE
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                                                                                     Tel: 360-533-271
 1                   j. https://www.youtube.com/watch?v=GH2NZViiOVA
                     k. https://www.youtube.com/watch?v=1JlAiouGr8c
 2

 3             12.      Valve does not adequately disclose the true odds of a crate containing a given
 4   Skin, and cannot disclose the value of the various Skins contained within a given crate because
 5
     the market values of said Skins are constantly fluctuating.
 6
               13.      Valve knowingly 2 allowed, supported, facilitated, and/or sponsored illegal
 7
     gambling by allowing millions of Americans, including Plaintiffs’ children, to link their
 8

 9   individual Steam accounts to third-party websites like CSGOLounge (“Lounge”), CSGOShuffle

10   (“Shuffle”), CSGO Diamonds (“Diamonds”), CSGOSpeed (“Speed”), CSGOCrash (“Crash”),

11   Skin Arena (“Arena”), CSGO Lotto (“Lotto”), and OPSkins Group, Inc. (“OPSkins”)
12   (collectively “Skins Gambling Websites”) and by allowing third-party sites to operate their
13
     gambling transactions within Valve’s Steam marketplace. (Throughout this Complaint, the
14
     Plaintiffs use the terms Steam and Valve interchangeably.) Before shutting down, Lounge
15
     allowed players to gamble on the outcome of CS:GO matches, while other Skins Gambling
16

17   Websites offered (and, in some cases, continue to offer) casino-style games, jackpots, lotteries,

18   and other pure gambling games using Skins as the items or costs of gambling.

19             14.      All of the actual gambling transactions take place under Valve’s virtual roof and
20
     require Valve’s affirmative support to continue. Skins never actually leave Valve’s servers. Each
21
     of the third-party Skins Gambling Websites has their own accounts they use to trade Skins with
22
     players so that players can gamble on the Skins Gambling Websites, or sell Skins for cash on
23
     OPSkins and similar third-party marketplace sites. These Skins Gambling Websites and OPSkins
24

25   have to create hundreds or even thousands of “bot” accounts to facilitate the volume of trading

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     2
         http://www.dailydot.com/esports/skin-betting-csgo-lawsuit-valve/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                              STRITMATTER KESSLER
     ACTION FOR DAMAGES - 4                                                        KOEHLER MOORE
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 1   with users, and Valve has affirmatively helped these companies set up and operate bot accounts,

 2   scripts, automation and other methods to allow third party sites to facilitate gambling transactions

 3   that, without Valve’s direct support, these sites would not be able to do.
 4              15.      Indeed, after undersigned counsel filed the first lawsuits against Valve, Valve took
 5
     steps to shut down Skins gambling, including a public announcement and cease and desist letters
 6
     to various gambling websites. In response, many gambling websites shut down, and sites like
 7
     Lounge closed their doors to U.S. players. 3 These lawsuits brought nothing new to Valve’s
 8

 9   attention; Valve’s actions could have taken place at any time before it actually took steps to shut

10   down Skins gambling. Valve simply chose not to take action, even though its later actions show

11   it possessed the power to do so.
12
                16.      In addition, from August 2013 - July 2016, the time period from when Skins
13
     gambling began and before Valve took its first, incomplete and ineffective steps to address Skins
14
     gambling, Valve had actual knowledge of the identity of the Valve accounts that gambling
15
     websites used to effectuate gambling transactions, and chose not to take any action against them.
16

17              17.      At all times relevant to this Complaint, Valve allowed gambling websites to use

18   Valve accounts on Valve’s servers and Valve’s computers to effectuate gambling transactions.
19              18.      Valve also provided technical support to gambling websites and real-money cash
20
     out websites, despite those websites violating Valve’s Steam Subscriber Agreement, and would
21
     return control of gambling websites’ Valve accounts back to the gambling website after being
22
     hijacked or hacked by other third parties.
23

24              19.      Valve also refused to shut down features of Valve’s system - such as free trading

25   or one-way “gift” trading - that would have eliminated the ability of Skins gambling websites to

26
     3
         http://www.esportsbettingreport.com/skin-betting-sites-status-valve-api-crackdown/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                      STRITMATTER KESSLER
     ACTION FOR DAMAGES - 5                                                                KOEHLER MOORE
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 1   operate on Valve’s servers.

 2              20.      Valve also refused to use “blacklists” to prevent known Skins gambling websites

 3   from accessing Valve’s servers through the OpenID authentication process and linking user’s
 4   accounts to gambling websites accounts.
 5
                21.      Plaintiffs and their children originally brought this action together, and were
 6
     referred to arbitration. After these arbitrations, with limited discovery, the arbitrators found that,
 7
     because the children, as teenagers, knowingly illegally gambled online with Skins, they could not
 8

 9   recover for their losses.

10              22.      These arbitrators ruled that Skins were a thing of value in that what the users were

11   doing was gambling and was illegal, and therefore the teenagers could not recover as a matter of
12
     law.
13
                23.      Valve profits from Skins Gambling in the following ways:
14
                         a.       Gambling increases the demand for and the price of new Skins, which
15                                Valve creates and sells to consumers; 4
                         b.       Gambling increases the volume of Skins sales and prices on Valve’s
16
                                  secondary market, Steam Marketplace, where Valve takes a percentage of
17                                each sale;
                         c.       Gambling increases the number of people watching Valve-sponsored
18                                CS:GO tournaments and Valve sells the tournament broadcast rights to
                                  television and online streaming;
19                       d.       Gambling        websites      purchase      copies     of     CS:GO      on
                                  Steam in order to facilitate trading of skins with users;
20
                         e.       The Steam Marketplace functions like an app store in which third-party
21                                publishers sell items to users, from which Valve takes a fee. So while users
                                  cannot cash out proceeds from Skins sales in their Steam wallet for cash,
22                                they can use it to buy real world software, and Valve takes a fee on these
                                  transactions.
23

24              24.      Valve’s actions take on an additional degree of unconscionability because most

25   of the people in the CS:GO gambling economy are teenagers and/or under 21 years old.

26
     4
         Valve sells electronic access to Skins that players find within games. See ¶ 6.


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                         STRITMATTER KESSLER
     ACTION FOR DAMAGES - 6                                                                   KOEHLER MOORE
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 1          25.     The Plaintiffs in this case, parents of minor children, bring this case on behalf of

 2   themselves and all parents of minor children nationwide who unwittingly supplied monies for

 3   use by their minor children in Valve’s unconscionable and illegal online gambling and crate
 4   gambling ecosystem, which targets and harms both teenagers and their parents.
 5
                              PARTIES, JURISDICTION AND VENUE
 6
            26.     Defendant Valve is a Washington Corporation headquartered at 10900 NE 4th St.,
 7
     Suite 500, Bellevue, Washington 98004. Valve is authorized to conduct business and does
 8

 9   conduct business throughout the United States, and does business in King County, Washington.

10   Valve is the publisher and developer of the videogame CS:GO.

11          27.     Plaintiff Grace Galloway is a resident and citizen of Naperville, located in DuPage
12
     County, Illinois. Her son, J.P., is an online player of CS:GO who has engaged in gambling
13
     involving Skins as described below. Specifically, J.P. used funds provided by Ms. Galloway to
14
     purchase CS:GO from Valve and to purchase numerous Skins and keys, which he then gambled
15
     with and lost. J.P. knew that he could cash out the value of the Skins for real money prior to
16

17   losing them while gambling. J.P. gambled Skins on third-party sites including CSGOLotto,

18   CSGOWild, CSGODouble, CSGOPolygon, CSGOMassive, CSGOBig, and CSGOCrash. J.P.
19   purchased keys in CS:GO to open lootboxes on Valve’s platform in the slot machine format
20
     described above, felt like it was gambling, and when he did not receive high-value or rare Skins,
21
     he moved on to Skins gambling to continue to try to win high-value Skins. Plaintiff Galloway
22
     would not have provided said funds to J.P. had she known that they were being used for illegal
23

24   gambling facilitated by Valve.

25          28.     Plaintiff Andy Lesko is a resident and citizen of Albany, located in Linn County,

26   Oregon. His son, C.L. is an online player of CS:GO who has entered into wagering as described



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 7                                                    KOEHLER MOORE
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 1   below. Specifically, C.L. used funds provided by Mr. Lesko to purchase CS:GO from Valve and

 2   to purchase numerous Skins and keys, which he then gambled with and lost. C.L. purchased

 3   keys from Valve that he used to open lootboxes in CS:GO, in the slot machine format described
 4   above. C.L. knew that he could cash out the value of the Skins for real money prior to losing
 5
     them while gambling. C.L. gambled Skins on CSGOBig, CSGOLotto, CSGOCrash, and
 6
     CSGODouble. Plaintiff Lesko would not have provided said funds to C.L. had he known that
 7
     they were being used for illegal gambling facilitated by Valve.
 8

 9          29.     Plaintiff Brenda Shoss is a resident and citizen of St. Louis, located in St Louis

10   County, Missouri. Her son, E.B. is an online player of CS:GO who has entered into wagering as

11   described below. Specifically, E.B. used funds provided by Ms. Shoss to purchase CS:GO from
12
     Valve and to purchase numerous Skins and keys which he then gambled and lost. E.B. purchased
13
     keys from Valve that he used to open lootboxes in CS:GO, in the slot machine format described
14
     above. E.B. knew that he could cash out the value of the Skins for real money prior to losing
15
     them while gambling. E.B. gambled Skins on third-party sites including CSGODouble,
16

17   CSGOLounge, CSGOWild, CSGODiamonds, and CSGOCrash while also utilizing OPSkins.

18   Plaintiff Shoss would not have provided said funds to E.B. had she known that they were being
19   used for illegal gambling facilitated by Valve.
20
            30.     The United States District Court for the Western District of Washington is the
21
     appropriate venue for this action because Valve is headquartered in this District and a substantial
22
     number of the transactions between Plaintiffs’ minor children and Defendant, if not all of the
23

24   transactions, took place in the Valve/Steam marketplace, which is operated using servers located

25   in the Western District of Washington.

26                                    FACTUAL BACKGROUND



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 8                                                    KOEHLER MOORE
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 1              2.       Valve has manufactured video games for nearly 20 years. In 1999, it introduced

 2   the Counter-Strike series, culminating in CS:GO’s release in 2012.

 3              3.       CS:GO was one of many similar video games involving players who play as either
 4   terrorists or counter-terrorists. Because the player views the video game through the eyes of a
 5
     character and shoots guns, it is known as a “first person shooter” game. When CS:GO was
 6
     released in 2012, the market was flooded with such franchises as Call of Duty, Halo and
 7
     Battlefield.
 8

 9              4.       Seeking to differentiate itself, CS:GO introduced Skins. The announcement was

10   made August 14, 2013 through a post on its website titled “The Arms Deal Update” (“Skins

11   Announcement”). 5
12
                5.       The Skins Announcement told players that they could “experience all the illicit
13
     thrills of black market weapons trafficking without any of the hanging around in darkened
14
     warehouses getting knifed to death.” Specifically, “[t]he Arms Deal Update lets you collect, buy,
15
     sell and trade over 100 all-new decorated weapons that you can equip in-game.”
16

17              6.       The Skins Announcement discussed how the new marketplace would work: “You

18   can start collecting decorated weapons via timed weapon drops just by playing CS:GO on official
19   and community servers. You can also get them by opening dropped weapon cases with the
20
     appropriate key, or by trading with other players through Steam’s Trading interface.
21
     Additionally, any decorated weapons you’ve found, bought or traded can be sold on the Steam
22
     Marketplace.” Players have to pay Valve for a key to open a weapons drop box, which could
23

24   contain Skins worth less or more than the cost of the key.

25

26
     5
         http://blog.counter-strike.net/index.php/2013/08/7425/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 9                                                      KOEHLER MOORE
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 1              7.      Valve directed players to Reddit (the “front page of the internet” forum website

 2   with numerous sub-forums for specific interests), the Steam Community Discussions and the

 3   CS:GO Forums on steampowered.com for more information and to discuss Skins.
 4              8.      Steam and steampowered.com are wholly owned properties of Valve. Steam
 5
     operates as a wholly enclosed ecosystem wherein players can play games, communicate with
 6
     other players, initiate trades with other players, list items for sale, buy games, buy items, deposit
 7
     money into their “Steam Wallet,” participate in forum discussions, and communicate with Valve
 8

 9   directly.

10              9.      When items are bought and sold on the Steam Marketplace, Valve/Steam takes a

11   5% cut on all total sales, and an additional percentage depending on the game the item is related
12
     to. If a sale is related to CS:GO, Valve/Steam takes an additional 10%, resulting in a 15% fee in
13
     all marketplace sales related to CS:GO.
14
                10.     The creation of Skins was a deliberate attempt by Valve to increase its sales and
15
     profits by adding an element of gambling and market economies to its products. And it worked:
16

17   as a result of the gambling ecosystem, explained in depth below, that grew up around CS:GO

18   Skins, the number of players on CS:GO increased more than 1,500 percent, and CS:GO became
19   the subject of televised and monetized eSports. Despite its slow initial sales, Valve has now sold
20
     more than 21 million copies of CS:GO, earned more than $567 million in total revenue from
21
     sales of CS:GO alone, and earned a percentage of gambling proceeds on CS:GO through various
22
     websites and third parties. 6
23

24              11.     This was a deliberate strategy on Valve’s part. One of its employees explained at

25   a developer’s conference in 2014 that the company determined that the “best way to get players

26
     6
         http://www.bloomberg.com/features/2016-virtual-guns-counterstrike-gambling/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                   STRITMATTER KESSLER
     ACTION FOR DAMAGES - 10                                                            KOEHLER MOORE
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 1   deeply engaged in games…was to give away virtual items of random value and encourage a

 2   robust market to trade them.” That employee was quoted as saying: “This is not an accident.

 3   This is by design. We see more blogs popping up and more and more emails from our players
 4   saying, ‘I’m not really sure what happened but I’ve been playing DotA for the last week or two,
 5
     and I made $100 selling these items that I got.’ This is hugely successful for us.” 7 “DotA” refers
 6
     to Defense of the Ancients, another Valve game with a similar Skin gambling ecosystem like
 7
     CS:GO.
 8

 9           12.      Valve went so far as to hire an internationally renowned economist to help it

10   develop currencies and cross-platform economies. 8

11           13.      There is an increase in betting — and therefore the purchase of Skins on Valve’s
12
     website — during televised eSports. Since TBS debuted CS:GO matches, as many as 3.38
13
     million Skins were bet on matches on Lounge. The average value of individual Skins traded
14
     across various platforms was $9.75. The total “handle” — that is, dollars wagered — is more
15
     than $33 million. The matches televised on TBS result in the highest amount of wagering. 9
16

17           14.      Valve receives a direct financial benefit from televised CS:GO matches.

18           15.      Skins gambling websites are illegal in Washington and in the United States.
19   Neither Valve nor these websites had a license, permission or legal authority to create, sustain,
20
     profit from or otherwise support an online gambling platform, and, as discussed more in depth
21
     below, Valve’s affirmative actions, choices and failures to act created this online gambling
22
     system and allows it to continue to this day.
23

24           16.      Valve intentionally designed the process for purchasing and “winning” Skins

25

26   7
       http://www.bloomberg.com/features/2016-virtual-guns-counterstrike-gambling/
     8
       http://www.bloomberg.com/features/2016-virtual-guns-counterstrike-gambling/
     9
       http://www.esportsbettingreport.com/eleague-handle-for-skin-betting/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                 STRITMATTER KESSLER
     ACTION FOR DAMAGES - 11                                                          KOEHLER MOORE
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 1   through the crate/lootbox-opening process to replicate the look, feel, sound and elements of

 2   gambling, specifically, a slot machine format.

 3          17.       In addition to purchasing or trading Skins through the Steam Marketplace or from
 4   third party websites like OPSkins, Valve provides CS:GO players with “cases” that contain Skins
 5
     during in-game play. These cases cannot be opened without purchasing a “key” from Valve for
 6
     $2.99. Thus, even a “free” in-game Skin provided by Valve requires users to pay Valve $2.99 to
 7
     open the case.
 8

 9          18.       When players open the cases, the value of the Skins inside could be less or more

10   than $2.99, making the mere opening of cases a form of gambling, no different than playing a

11   slot machine. Valve in fact created a slot-machine experience and look and feel of gambling
12
     when opening cases, as seen in this video: https://www.youtube.com/watch?v=oqle-lQjac8.
13
     These videos show how the look and sound of the revealing of what Skins are inside the cases is
14
     equivalent to playing a slot machine. The screenshot below shows the red line that the different
15
     pictures of Skins rotate through until landing on the Skin the user has “won”:
16

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     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 12                                                   KOEHLER MOORE
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14          19.     The manner designed by Valve by which users obtain Skins by opening crates/loot

15   boxes constitutes illegal gambling without a license.

16          20.     Skins gambling websites copied the look and feel of case opening, and users used
17   Skins gambling websites to replace or supplement the feel and experience of crate opening.
18
            21.     Valve does not have to disclose and in fact does not disclose the true odds of
19
     receiving certain items or the rules governing the crate opening system, and in fact affirmatively
20
     misleads users as to the true probability of receiving more valuable items.
21

22          22.     Specifically, each potential item available in a crate is listed for the user and has

23   a picture displayed to the user, all in the same size and indicating an equal chance of being in the

24   crate. The pictures of the items scroll by at the same speed and in the same sizes, meaning the
25
     line indicating the winning item can seemingly land on any of the available items with an equal
26



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                           STRITMATTER KESSLER
     ACTION FOR DAMAGES - 13                                                    KOEHLER MOORE
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 1   chance. However, the actual odds of receiving more valuable items are much lower (as low as

 2   less than 1 in 156 for the most valuable items) and Valve does not disclose this.

 3              23.     The introduction of these gambling elements into Valve’s video games was
 4   calculated and intentional. It is well known that many minor children play Valve’s games. It is
 5
     also well know that adolescents’ brains are still developing and that they are susceptible to
 6
     becoming addicted to gambling. See, e.g., D. Zendle, R. Meyer, and H. Over, Adolescents and
 7
     loot boxes: links with problem gambling and motivations for purchase, R. Soc. Open Sci.,
 8

 9   6:190049, p.5 (2019) (“Adolescents, as a group, are particularly at risk of developing problem

10   gambling. Indeed, the prevalence of problem gambling among adolescents is far higher than in

11   the adult population. There are good theoretical reasons to believe that links between loot box
12
     spending and problem gambling may be stronger in adolescents than they are among adults.”).
13
                24.     Valve sells Skins through its website and Steam platform. Valve takes a 15% fee
14
     on all CS:GO Skins sold through its website or sold on its Steam Marketplace.
15
                25.     Skins can be won, bought, traded, sold, and otherwise have in-game value through
16

17   Steam’s Marketplace and the CS:GO game itself. Valve also sells versions of Skins called

18   Knives using the same system. 10
19              26.     Unlike apps and other computer games with such in-game purchases, Valve has
20
     created and currently supports a secondary marketplace where these in-game purchases can be
21
     gambled and cashed out.
22
                27.     Skins, in gambling terms, can be seen as casino chips.
23

24

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     10
          http://www.pcgamer.com/how-400-virtual-knives-saved-counter-strike/2/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                    STRITMATTER KESSLER
     ACTION FOR DAMAGES - 14                                                             KOEHLER MOORE
                                                                                  413-8TH Street, Hoquiam, WA 98550
                                                                                           Tel: 360-533-271
 1              28.       “People buy skins for cash, then use the skins to place online bets on pro CS:GO

 2   matches. Because there’s a liquid market to convert each gun or knife back into cash, laying a

 3   bet in skins is essentially the same as betting with real money.” 11
 4              29.       Players must link their Steam account to third-party websites such as OPSkins and
 5
     Skins Gambling Websites in order to be able to gamble or cash out their Skins on the third-party
 6
     sites.
 7
                30.       OPSkins and Skins Gambling Websites such as Lotto have their own accounts on
 8

 9   the Steam marketplace that are used to facilitate transfers, sales and gambling. That is, if a user

10   logs into a Skins Gambling Website and wants to gamble, technically they transfer their Skins to

11   the Skins Gambling Website’s own Steam account, or one of that Skins Gambling Website’s
12
     numerous “bot” accounts. If the user wins, the Skins Gambling Website transfers Skins back to
13
     the user’s Steam account. OPSkins does the same and has numerous Steam accounts of its own
14
     to facilitate users turning Skins into real cash.
15
                31.       Valve easily identified these bot accounts, knew these bot accounts were in place
16

17   and knew they were being used for gambling and cashing out skins.

18              32.       Skins are a thing of value under Washington law. Users could sell Skins for real
19   money on third party websites that operated with Valve’s knowledge, approval, and facilitation.
20
     Skins can be used to place bets where money or other things of value can be won.
21
                33.       Skins are also a thing of value under Washington law because users could sell
22
     Skins for money in their Steam wallets that could be used to purchase hardware, software,
23

24   movies,          content,   other   virtual   items,    and    video    games       directly      from      Valve:

25   https://steamcommunity.com/market/.

26
     11
          http://www.bloomberg.com/features/2016-virtual-guns-counterstrike-gambling/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                    STRITMATTER KESSLER
     ACTION FOR DAMAGES - 15                                                             KOEHLER MOORE
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                                                                                           Tel: 360-533-271
 1           34.     Two arbitrators ruled in January 2019 that Skins are a thing of value and that

 2   illegal gambling occurred with Skins on third party websites with Valve’s knowledge and without

 3   any action being taken by Valve to stop such gambling.
 4           35.     In January 2015, Valve instituted a new security measure that required users to
 5
     prove they were real human beings known as a “Captcha” tool. Valve did this in order to “prevent
 6
     malware on users’ machines making trades on their behalf.” However, Valve specifically
 7
     “excluded a few of the existing third-party trading services from this requirement so they can
 8

 9   continue to function.” 12 Those third-party trading services are sites like OPSkins and the Skins

10   Gambling Websites that use hundreds and/or thousands of Steam accounts to facilitate

11   gambling. 13
12
             36.     Valve is well aware of the Skins gambling that goes on, is well aware that Skins
13
     have real world cash value, which has increased their popularity and value, and actively
14
     encourages and facilitates Skins gambling.
15
             37.     Valve is aware that these third-party gambling sites can and do cheat CS:GO
16

17   players betting Skins. An anonymous Valve employee told a reporter that “I don’t think the

18   rigged roulette sites in Russia give two f--ks” about the original lawsuit filed against Valve that
19   mentions third-party websites based overseas. 14 The full context of that quote:
20

21

22

23

24

25
     12
        http://steamcommunity.com/groups/tradingcards/discussions/1/622954023422884592/
26   13
        https://www.reddit.com/r/Steam/comments/3lvvao/how_safe_are_third_party_websites_that_allow_you/;
     http://steamcommunity.com/id/drunkenf00l/
     14
        http://www.dailydot.com/esports/skin-betting-csgo-lawsuit-valve/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                STRITMATTER KESSLER
     ACTION FOR DAMAGES - 16                                                         KOEHLER MOORE
                                                                              413-8TH Street, Hoquiam, WA 98550
                                                                                       Tel: 360-533-271
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15              38.      In addition to anonymous employees bashing lawsuits to reporters and admitting

16   Valve is aware that rigged third-party sites are taking money from Valve’s customers, Valve has
17   publicly discussed gambling on CS:GO in other forums. For instance, in order to stem the
18
     increased hacking, fraud and other harms to consumers that had arisen out of Skins gambling in
19
     2015, Valve introduced new security measures. Valve announced these measures on December
20
     9, 2015, in a post called “Security and Trading” on the Steam marketplace website. 15
21

22              39.     In this post, Valve wrote: “Account theft has been around since Steam began, but

23   with the introduction of Steam Trading, the problem has increased twenty-fold as the number

24   one complaint from our users… This was an unacceptable status quo and we needed to address
25

26
     15
          http://store.steampowered.com/news/19618/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 17                                                     KOEHLER MOORE
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                                                                                   Tel: 360-533-271
 1   it. In revisiting our strategy to stop it, we found two things of note. First, enough money now

 2   moves around the system that stealing virtual Steam goods has become a real business for skilled

 3   hackers. Second, practically every active Steam account is now involved in the economy, via
 4   items or trading cards, with enough value to be worth a hacker's time. Essentially all Steam
 5
     accounts are now targets.” 16
 6
             40.     Valve admitted that it knew Skins had real world cash value: “If hackers couldn't
 7
     move the stolen goods off the hacked account, then they couldn't sell them for real money, and
 8

 9   that would remove the primary incentive to steal the account.” 17

10           41.     Indeed, in August 2016, the United Kingdom’s Gambling Commission,

11   responsible for regulating and licensing gambling operations within the United Kingdom, issued
12
     a whitepaper stating that “[w]here ‘skins’ are traded or are tradeable and can therefore act as a
13
     de facto virtual currency and facilities for gambling with those items are being offered, we
14
     consider that a [gambling] license is required.” 18
15
             42.     Valve thus knows and has admitted that its in-game Skins have real world
16

17   monetary and cash value through third-party websites it knowingly supports and assists on the

18   Steam Marketplace.
19           43.     Valve could have stopped this hacking and theft perpetrated against consumers
20
     — again, mostly teenagers — by “removing trading” but chose not to.
21
             44.     Valve employees communicated directly with Lounge and provided technical
22
     support to the website, according to a Lounge employee and spokesperson. 19
23

24

25   16
        http://store.steampowered.com/news/19618/
     17
        http://store.steampowered.com/news/19618/
26   18
        http://www.gamblingcommission.gov.uk/pdf/Discussion-papers/Virtual-currencies-eSports-and-social-gaming-
     discussion-paper-August-2016.pdf
     19
        http://www.bloomberg.com/features/2016-virtual-guns-counterstrike-gambling/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                 STRITMATTER KESSLER
     ACTION FOR DAMAGES - 18                                                          KOEHLER MOORE
                                                                               413-8TH Street, Hoquiam, WA 98550
                                                                                        Tel: 360-533-271
 1           45.     In a post on Valve’s forum, a moderator — that is, a Valve spokesperson who

 2   manages the forums on behalf of Valve — told “younger” users who think they have been

 3   scammed through third-party sites such as Lounge to not post on the forums about it. Rather,
 4   those “younger” users who were scammed on a third-party gambling site should contact Valve
 5
     directly. 20 In this post, the moderator on Steam’s own forums told users, including its “younger”
 6
     users: “Safe betting and trading!” 21
 7
             46.     Finally, once users have accumulated Skins they can convert them to cash through
 8

 9   OPSkins.

10           47.     OPSkins, based in Canada, links directly to a user’s Steam account as well.

11           48.     Users on OPSkins can cash out their Skins for real money through their PayPal
12
     accounts.
13
             49.     Valve admits that it allows these third-party websites to have authenticated Steam
14
     accounts and trade on the Steam marketplace. 22
15
             50.     Valve has the power to stop these third-party sites from trading with user
16

17   accounts, which would eliminate illegal online Skins gambling.

18           51.     And even when Valve took action, it took incomplete or ineffective action. Skins
19   gambling continued, and still continues. Valve took additional action on March 29, 2018, but
20
     there was nothing preventing Valve from having done this exact thing at any point before.
21
             52.     In sum, users deposit real money on Valve’s website, connect that real money
22
     account to nominal third-party websites where users can participate in various forms of gambling,
23

24   and then cash out their account balances, converting Skins into real money. All of these gambling

25

26   20
         http://www.bloomberg.com/features/2016-virtual-guns-counterstrike-gambling/
     21
         http://steamcommunity.com/groups/csgolounge/discussions/8/627456486705186974/
     22
        http://www.dailydot.com/esports/skin-betting-csgo-lawsuit-valve/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                               STRITMATTER KESSLER
     ACTION FOR DAMAGES - 19                                                        KOEHLER MOORE
                                                                             413-8TH Street, Hoquiam, WA 98550
                                                                                      Tel: 360-533-271
 1   transactions between users and third party gambling websites actually take place on the Valve

 2   servers because Skins are never actually transferred from Valve’s servers and computer system.

 3          53.     Put another way: Valve’s servers host the gambling website accounts and
 4   OPSkins accounts, and the trades physically take place among these Valve accounts - users,
 5
     gambling websites and cash-out websites. In the barkeeper analogy, users buy chips from the
 6
     bartender, gamble in one backroom and cash out in another, all under Valve’s roof.
 7
            54.     This is an illegal scheme designed to bypass state-by-state gambling laws. And
 8

 9   this illegal gambling violates Washington law.

10          55.     Valve has the technical capabilities to block access to any gambling site it chooses

11   to, but made an affirmative decision to instead work directly with third-party gambling websites
12
     to give them access to Valve’s computers in order to facilitate their gambling transactions.
13
            56.     Valve has always had the ability to modify, regulate, begin, and end the Skins
14
     market and gambling as it saw fit.
15
            57.     In the July 2016 Skins Gambling Update, Valve alleged that “making the same
16

17   web calls as Steam users to run a gambling business is not allowed by our API nor our user

18   agreements.”
19          58.     Notably, Plaintiffs, as the parents of minor children who engaged in illegal
20
     gambling by playing Valve’s games and/or using Skins obtained from Valve to gamble on third-
21
     party websites, do not have any contractual relationship with Valve, and are therefore not subject
22
     to its user agreements.
23

24          59.     In the Skins Gambling Update, Valve claimed that it would “start sending notices

25   to these sites requesting they cease operations through Steam, and further pursue the matter as

26   necessary.”



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 20                                                   KOEHLER MOORE
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                                                                                 Tel: 360-533-271
 1           60.      Recognizing that the value of Skins was inflated by the ability to gamble and cash

 2   them out, Valve warned that “Users should probably consider this information as they manage

 3   their in-game item inventory and trade activity.”
 4           61.      No facts in the “Skins Gambling Update” were unknown to Valve before
 5
     undersigned counsel filed the first lawsuits in June 2016.
 6
             62.      There was nothing preventing Valve from taking the actions described in the
 7
     Skins Gambling Update before it did. The publicity and attention that resulted from litigation
 8

 9   against Valve precipitated Valve’s actions. In the alternative, the information about Lotto as

10   described above, alone or in conjunction with the lawsuits, precipitated Valve’s actions.

11           63.      Valve’s actions in the Skins Gambling Update definitively show that Valve is
12
     aware of how it facilitates the Skins gambling ecosystem and how it has absolute control over
13
     Skins gambling.
14
             64.      Immediately after this announcement, Skins gambling websites such as
15
     CSGODouble, CSGOWild, CSGOCasino, CSGOHouse, Diamonds, CSGO500, and other
16

17   gambling websites closed down and/or stopped accepting deposits. 23

18           65.      In an undated letter to 23 websites, Valve’s General Counsel, Karl Quackenbush
19   communicated a cease and desist warning on Valve’s letterhead to gambling sites (“Cease and
20
     Desist”). In the Cease and Desist, Valve alleged that the gambling sites’ use of Steam accounts
21
     was unauthorized use in violation of the Subscriber Agreement:
22

23

24

25

26
     23
       http://www.dexerto.com/news/2016/07/28/richard-lewis-summarises-csgo-betting-sites-closed/;
     http://www.esportsbettingreport.com/skin-gambling-sites-status-valve-cease-and-desist/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                 STRITMATTER KESSLER
     ACTION FOR DAMAGES - 21                                                          KOEHLER MOORE
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                                                                                        Tel: 360-533-271
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10              66.      The Subscriber Agreement, in Section 4, prevents users, such as OPSkins, Lounge

11   and the other Skins Gambling Websites, from using “automation software (bots), mods, hacks,

12   or any other unauthorized third-party software, to modify or automate any Subscription
13   Marketplace process.” Thus, unless a Skins Gambling Website and/or OPSkins has been
14
     specifically authorized to create bots to trade Skins, Plaintiffs’ claims in this case are allegations
15
     of unauthorized use of Steam.
16
                67.      Valve threatened to terminate these gambling website accounts, which shows that
17

18   Valve has had the power all along and still retains the power to end Skins Gambling, but chooses

19   not to.

20              68.      Within 10 days of the Skins Gambling Update and after Valve sent its Cease and
21
     Desist, according to an analysis from Esports Betting Report, approximately nine (9) of the
22
     twenty three (23) gambling websites had shut down or announced plans to shut down, with the
23
     others operating normally or affirmatively stating they would not shut down. 24 That number
24
     increased to more than 20 by August 13, 2016. 25
25

26
     24
          http://www.esportsbettingreport.com/skin-gambling-sites-status-valve-cease-and-desist/
     25
          http://www.esportsbettingreport.com/skin-betting-sites-status-valve-api-crackdown/


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                                       STRITMATTER KESSLER
     ACTION FOR DAMAGES - 22                                                                KOEHLER MOORE
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                                                                                              Tel: 360-533-271
 1              69.      Valve’s Cease and Desist letter also forced CSGOLounge, the preeminent online

 2   sports book for betting on professional CS:GO matches, to seek gambling licenses in order to

 3   legalize their operations, and to prevent users within the United States from betting on the
 4   website. 26
 5
                70.      Valve is well aware that many of their users are teenagers. Steam’s account
 6
     requires users to check a box indicating they are just 13 years of age or older, and does not require
 7
     users to read the Subscriber Agreement before creating a Steam account: 27
 8

 9

10

11

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17

18
                71.      Plaintiffs’ minor children signed into their Steam accounts through third-party
19
     websites including Lounge, Lotto, Shuffle, Diamonds, Speed, and Crash.
20

21              72.      Plaintiffs’ minor children were aware Skins had real world value and could be

22   cashed out on sites such as OPSkins, and did in fact cash out their Skins through OPSkins.

23              73.      Plaintiffs’ minor children used Skins to place bets on Lounge, Shuffle, Lotto,
24
     Diamonds, Speed, Crash, and other sites through trading Skins to each via their Steam accounts,
25

26
     26
          https://csgolounge.com/notice
     27
          https://store.steampowered.com/join/?


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 23                                                     KOEHLER MOORE
                                                                          413-8TH Street, Hoquiam, WA 98550
                                                                                   Tel: 360-533-271
 1   hosted and facilitated by Valve, and lost Skins, and therefore the real world cash value of these

 2   Skins, in these transactions.

 3          74.     Plaintiffs’ minor children paid a premium for Skins that they otherwise would not
 4   have paid because the ability to gamble and cash them out for real money inflated the value in
 5
     the Skins market.
 6
            75.     Plaintiffs were unaware of the illegal gambling ecosystem facilitated by Valve
 7
     when providing money for the purchase of Skins and keys to their minor children, and would not
 8

 9   have allowed their minor children to purchase Skins and keys had they been aware that the keys

10   were part of a slot machine-like gambling process and that Valve allowed Skins to be used for

11   gambling.
12
            76.     Valve’s facilitation of the gambling transactions engaged in by Plaintiffs’ minor
13
     children caused Plaintiffs to suffer financial harm.
14
            77.     C.L. was 14 years old when he first signed up on the Steam Marketplace and was
15
     15 years old when he first played CS:GO. He used money unwittingly provided by Plaintiff
16

17   Andy Lesko to purchase Skins on OPSkins, purchase keys from Valve to open cases to obtain

18   Skins, and deposit Skins into Skins Gambling Websites such as Lotto, Shuffle, CSGO Big, and
19   CSGO Crash. His parent, Andy Lesko, was not aware that C.L. was gambling online with Skins
20
     or the lootbox slot machine process for obtaining Skins, would not have allowed him to gamble
21
     online had he known what Skins and the lootbox slot machine process for obtaining Skins truly
22
     were, and would not have given him money or would have given him money with stricter
23

24   oversight had he known. As a result, Andy Lesko lost his own money because of Valve’s actions.

25          78.     J.P. first signed up for the Steam Marketplace at the age of 14 and first purchased

26   and gambled Skins at the age of 14. J.P. gambled Skins on Skins Gambling Websites like Wild,



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 24                                                   KOEHLER MOORE
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 1   Lotto, Big, CSGO Strong, and CSGO Sweep. He purchased more than $730 worth of Skins on

 2   OPSkins, purchased keys from Valve to open cases to obtain Skins, and has lost more than $6,000

 3   worth of Skins. Plaintiff Grace Galloway, J.P.’s parent, was not aware that J.P. was gambling
 4   online with Skins or the lootbox slot machine process for obtaining Skins, would not have
 5
     allowed him to gamble online had she known what Skins and the lootbox slot machine process
 6
     for obtaining Skins truly were, and would not have given him money or would have given him
 7
     money with stricter oversight had she known. As a result, Grace Galloway lost her own money
 8

 9   because of Valve’s actions.

10          79.     E.B. first purchased CS:GO and began Skins Gambling when he was 13 years old;

11   he first played videogames on the Steam Marketplace when he was 11. He purchased Skins on
12
     sites like OPSkins and purchased keys from Valve to open cases and engaged in Skins Gambling
13
     on Skins Gambling Websites like Lounge, CSGO Double, CSGO Diamonds, Crash, and CSGO
14
     Wild, losing more than $3,000. His parent, Plaintiff Brenda Shoss, was not aware that E.B. was
15
     gambling online with Skins or the lootbox slot machine process for obtaining Skins, would not
16

17   have allowed him to gamble online had she known what Skins and the lootbox slot machine

18   process for obtaining Skins truly were, and would not have given him money or would have
19   given him money with stricter oversight had she known. She gave E.B. money with which to
20
     purchase Skins, keys, and cases, and therefore lost her own money because of Valve’s actions.
21
            80.     Plaintiffs’ experiences are typical and representative of the hundreds of thousands,
22
     if not millions, of parents and guardians of minor Skins gambling users in the United States whom
23

24   Valve enticed into the Skins Gambling economy that Valve allowed and facilitated through its

25   Steam Marketplace.

26                                        APPLICABLE LAW



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 25                                                   KOEHLER MOORE
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 1           81.     Washington is the location of Valve’s headquarters, and corporate decision-

 2   making apparatus; Valve is Washington corporation and therefore a citizen of Washington; and

 3   the servers used to facilitate the Skins gambling ecosystem described herein are located in the
 4   State of Washington. The State of Washington therefore has the most significant contacts with
 5
     Plaintiffs’ claims.
 6
             82.     Washington is likewise the location where Plaintiffs’ injuries as described herein
 7
     occurred because the funds transfers from Plaintiffs’ minor children to Valve, Skin and key
 8

 9   purchases made with said funds, and the transfer of Skins between Steam accounts associated

10   with third-party gambling websites, marketplace websites such as OPSkins, and other Steam

11   users and Plaintiffs’ minor children occurred on Valve’s servers located within the State of
12
     Washington.
13
             83.     As a result of Washington being the location of Valve and the events underlying
14
     this action, Washington has the most significant relationship to this controversy and Washington
15
     law applies to this action.
16

17
                                             CLASS ALLEGATIONS
18
             84.     A class action is the proper forum to bring Plaintiffs’ claims under Fed. R. Civ. P.
19
     23. The potential Class is so large that joinder of all members would be impracticable.
20
     Additionally, there are questions of law or fact common to the Class, the claims or defenses of
21

22   the representative parties are typical of the claims or defenses of the Class, and the representative

23   parties will fairly and adequately protect the interests of the Class.
24           85.     This action satisfies all of the implicit and explicit requirements of Fed. R. Civ.
25
     P. 23, including numerosity, commonality, typicality, adequacy, predominance and superiority.
26



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 26                                                     KOEHLER MOORE
                                                                          413-8TH Street, Hoquiam, WA 98550
                                                                                   Tel: 360-533-271
 1          86.      Ascertainability: Plaintiffs can and shall propose an administratively feasible

 2   method by which class members can be identified.

 3          87.      Numerosity: the Class is so numerous that joinder of all members is
 4   impracticable. While the exact number is not known at this time, it is generally ascertainable by
 5
     appropriate discovery. News accounts discuss how millions of users compete on the websites of
 6
     Defendant.
 7

 8          88.      Commonality: the claims made by Plaintiffs meet the commonality requirement

 9   because they present shared questions of law and fact, and resolving these questions will resolve

10   the class wide litigation. These shared questions predominate over individual questions, and they
11   include, without limitation:
12
                  a. Whether Plaintiffs and members of the Class were the parents of minor children
13                   who purchased keys from Valve using money, with those keys being used in the
                     lootbox slot machine process for obtaining Skins and therefore gambled Skins
14                   online using Valve’s services over the past eight years;
                  b. Whether Plaintiffs and members of the Class provided their minor children with
15                   monies ultimately paid to Valve in order to obtain Skins and keys in a manner that
16                   constitutes illegal gambling;
                  c. Whether Valve’s operations, and those of gambling websites that Valve facilitates
17                   and supports, are illegal online gambling under all applicable laws and rules;
                  d. Whether Valve’s operations as described in this Complaint violate Washington
18                   law;
                  e. Whether Plaintiffs and members of the Class are entitled to restitution and entitled
19                   to recovery of monies lost as result of Valve’s actions, the disgorgement of
20                   Valve’s profits and revenue derived from the same, or injunctive relief as
                     described below;
21                f. Whether Plaintiffs and members of the Class are entitled to restitution and entitled
                     to recovery of monies lost as result of Valve’s loot crate gambling, or the
22                   disgorgement of Valve’s profits and revenue derived from the same, or injunctive
                     relief as described below;
23
                  g. Whether Valve was negligent or otherwise acted wrongfully in allowing,
24                   encouraging, or failing to prevent users to utilize its service to bet and gamble on
                     CS:GO games and third party sites;
25                h. Whether Valve owed duties to the Plaintiffs and the proposed Class members, the
                     scope of those duties, and if it breached those duties;
26                i. Whether consumers such as the Plaintiffs and the proposed Class members were
                     harmed by Valve’s actions, as described in detail above;


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 27                                                     KOEHLER MOORE
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                                                                                   Tel: 360-533-271
 1                j. The extent of the damages caused by Valve’s acts; and
                  k. Whether Valve violated Washington consumer protection statutes as described
 2                   below.

 3          89.      Typicality: Plaintiffs’ claims are typical of those of the other Class members
 4   because Plaintiffs, like every other Class member, was induced to provide their minor children
 5
     with funds to use Valve’s services based on false and misleading advertisements of fair play,
 6
     legality, safety, and lack of information about the illegal Skins lootbox slot machine/gambling
 7
     process and Skins gambling ecosystem being facilitated by Valve. Plaintiffs’ claims are typical
 8

 9   because parents universally, equally and typically want their children to avoid engaging in illegal

10   online gambling.

11          90.      The claims of the Class Representative Plaintiffs are furthermore typical of other
12
     Class members because they make the same claims as other class members. Plaintiffs have an
13
     interest in seeking compensation from Valve.
14
            91.      Adequacy: Plaintiffs will fairly and adequately represent and protect the interests
15
     of the Class in that they have no disabling conflicts of interest that would be antagonistic to those
16

17   of the other members of the Class. Plaintiffs seek no relief that is antagonistic or adverse to the

18   members of the Class and the infringement of the rights and the damages they have suffered are
19   typical of other Class members.
20
            92.      Superiority: The class litigation is an appropriate method for fair and efficient
21
     adjudication of the claims involved. Class action treatment is superior to all other available
22
     methods for the fair and efficient adjudication of the controversy alleged herein; it will permit a
23

24   large number of class members to prosecute their common claims in a single forum

25   simultaneously, efficiently, and without the unnecessary duplication of evidence, effort and

26   expense that hundreds of individual actions would require. Class action treatment will permit the



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 28                                                     KOEHLER MOORE
                                                                          413-8TH Street, Hoquiam, WA 98550
                                                                                   Tel: 360-533-271
 1   adjudication of relatively modest claims by certain class members, who could not individually

 2   afford to litigate a complex claim against a large corporate defendant. Further, even for those

 3   class members who could afford to litigate such a claim, it would still be economically
 4   impractical.
 5
             93.     The nature of this action and the nature of Washington laws available to Plaintiffs
 6
     and the Class make the use of the class action device a particularly efficient and appropriate
 7
     procedure to afford relief to Plaintiffs and the Class for the wrongs alleged. Without the class
 8

 9   action mechanism, Valve would necessarily gain an unconscionable advantage since it would be

10   able to exploit and overwhelm the limited resources of each individual Class member with

11   superior financial and legal resources; and the costs of individual suits could unreasonably
12
     consume the amounts that would be recovered. Likewise, proof of a common course of conduct
13
     to which Plaintiffs were exposed is representative of that experienced by the Class, and will
14
     establish the right of each member of the Class to recover on the cause of action alleged; and
15
     individual actions would create a risk of inconsistent results and would be unnecessary and
16

17   duplicative of this litigation.

18           94.     The proposed class is described as follows:
19                   “All persons in the United States who are parents/guardians of
                     a minor child who provided funds to their minor child(ren) for
20
                     the purchase of Skins and/or Keys for the games
21                   CounterStrike:Global Offensive, Dota2 and Team Fortress 2.”

22           95.     Plaintiffs reserve the right to modify or amend the definition of the proposed class
23   and to modify, amend or remove proposed subclasses, before the Court determines whether
24
     certification is appropriate and as the parties engage in discovery.
25
             96.     Plaintiffs will fairly and adequately protect the interests of the Class. The interests
26
     of the class representatives are consistent with those of the other members of the Class. In


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                              STRITMATTER KESSLER
     ACTION FOR DAMAGES - 29                                                       KOEHLER MOORE
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                                                                                     Tel: 360-533-271
 1   addition, Plaintiff is represented by experienced and able counsel who have expertise in the areas

 2   of tort law, trial practice, and class action representation.

 3           97.     The class action is superior to all other available methods for the fair and efficient
 4   adjudication of this controversy. Because of the number and nature of common questions of fact
 5
     and law, multiple separate lawsuits would not serve the interest of judicial economy.
 6
             98.     Excluded from the Class are the following:
 7
                     a.      Valve and any entities in which Valve has a controlling
 8                           interest;
 9                   b.      Any entities in which Valve’s officers, directors, or employees are
                             employed and any of the legal representatives, heirs, successors, or assigns
10                           of Valve;
                     c.      The Judge to whom this case is assigned and any member of the Judge’s
11                           immediate family and any other judicial officer assigned to this case;
                     d.      All persons or entities that properly execute and timely file a request for
12
                             exclusion from the Class; and
13                   e.      Any attorneys representing the Plaintiff or the Class.

14                                        COUNT I
                                 VIOLATION OF THE CONSUMER
15                             PROTECTION ACT, RCW 19.86 ET SEQ.
16           99.     Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing
17   allegations as though fully set forth herein.
18           100.    Valve is headquartered in Washington; its strategies, decision-making, and
19   commercial transactions originate in Washington; most of its key operations and employees
20   reside, work, and make company decisions in Washington; and Valve and many of its employees
21   are part of the people of the State of Washington.
22           101.    The conduct that Plaintiffs challenge directly affects the people of the State of
23   Washington by allowing Washington citizens, including minor children, to participate in illegal
24   online gambling facilitated by Valve as described herein.
25

26



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                             STRITMATTER KESSLER
     ACTION FOR DAMAGES - 30                                                      KOEHLER MOORE
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                                                                                    Tel: 360-533-271
 1          102.    The Skins Gambling Websites and Marketplace Websites engaged in commerce
 2   inside Washington with both Valve and the minor children of all Plaintiffs, and that commerce
 3   gives rise to the allegations in this Complaint.
 4          103.    Washington’s Consumer Protection Act, RCW 19.86 et seq. (“CPA”), protects
 5   consumers by promoting fair competition in commercial markets for goods and services.
 6         104. To achieve that goal, the CPA prohibits any person from using “unfair methods

 7   of competition or unfair or deceptive acts or practices in the conduct of any trade or

 8   commerce. . . .” RCW 19.86.020.
 9          105.    Valve’s acts, omissions, and practices, as alleged herein, constitute unfair or
10
     deceptive acts in violation of the CPA.
11
            106.    Valve’s acts, omissions, and practices constitute per se violations of the CPA. As
12
     set forth above, Valve violated WAC 230-06-010 by permitting underage gambling and violated
13

14   the Gambling Act of 1973, RCW 9.46 et seq., by engaging in professional gambling without a

15   license.

16          107.    Plaintiffs were within the class of consumers WAC 230-06-010 seeks to protect
17
     because Plaintiffs and members of the class were the parents of children under the age of 18 who
18
     participated in Valve’s gambling activities.
19
            108.    Valve’s acts, omissions, and practices as described herein impact the public
20
     interest of the Washington as set forth in the Washington Gambling Act of 1973 by facilitating
21

22   illegal gambling within the State of Washington, including but not limited to illegal gambling by

23   citizens and residents of Washington. The Legislature enacted the Gambling Act “to restrain all
24   persons from seeking profit from professional gambling activities in this state; to restrain all
25
     persons from patronizing such professional gambling activities; to safeguard the public against
26
     the evils induced by common gamblers and common gambling houses engaged in professional


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                         STRITMATTER KESSLER
     ACTION FOR DAMAGES - 31                                                  KOEHLER MOORE
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                                                                                Tel: 360-533-271
 1   gambling.” RCW 9.46.010. To these ends, the Legislature provided that the Gambling Act is to

 2   be liberally construed. Id.

 3          109.    Valve’s acts, omissions, and practices are unfair or deceptive because they are
 4   contrary to Washington’s legislatively declared policies condemning unlicensed, unregulated
 5
     gambling and condemning the promotion or legitimization of gambling as entertainment for
 6
     children. In violation of the public policies of Washington, Valve created a slot machine-like
 7
     process to obtain Skins in its games that involved paying money to Valve for a chance to win
 8

 9   items that could have lesser or greater value than the amount of money paid; created and

10   maintained an unregulated gambling market, knowingly permitted minor children to gamble in

11   this market; and profited from these gambling activities.
12
            110.    Valve’s acts, omissions, and practices, as alleged herein, constitute deceptive acts
13
     and practices because they are predicated upon false and misleading advertisements of fair play,
14
     legality, safety, and lack of information about the illegal Skins gambling ecosystem being
15
     facilitated on its Steam platform.
16

17          111.    Valve’s acts, omissions, and practices, as alleged herein, created a false

18   impression of fair play, legality, and safety which induced Plaintiffs to unwittingly provide their
19   minor children with monies used to purchase Skins and keys, and to otherwise participate in the
20
     illegal Skins gambling ecosystem facilitated by Valve as described herein.
21
            112.    Valve’s acts, omissions, and practices constitute immoral, unethical, oppressive,
22
     and unscrupulous business conduct that caused substantial injury to Plaintiffs.
23

24          113.    The gravity of the harm resulting from Valve’s conduct described above

25   outweighs any utility of this conduct. There are reasonably available alternatives that would

26   further Valve’s legitimate business interests, such as ensuring that any lawful gambling



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 32                                                   KOEHLER MOORE
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 1   enterprises obtain proper licenses and implementing suitable age verification protocols.

 2          114.    As a direct and proximate result of Valve’s violations of the Consumer Protection

 3   Act, Plaintiffs and Class members sustained injuries, including out-of-pocket losses for funds
 4   they unwittingly provided for Skins gambling, purchasing CS:GO Skins and keys, paying an
 5
     inflated price for Skins because of their increased value due to the ability to gamble them, and
 6
     paying Skins-related fees.
 7
            115.    Further, Plaintiffs and the Class were harmed by unwittingly allowing their
 8

 9   children to engage in illegal online gambling.

10          116.    The injuries caused by Valve’s conduct were not reasonably avoidable. Plaintiffs

11   and Class members did not know, and had no reasonable means of learning, of Valve’s violations
12
     of law. Plaintiffs’ minor children were not in a position to make contracts or understand the
13
     consequences of gambling online, and the use of Skins as an in-game purchase and other actions
14
     by Valve obscured to parents such as Plaintiffs the true nature of what their children were doing.
15
     Moreover, as described in detail above, the slot machine-like crate opening process designed by
16

17   Valve and the Skins gambling ecosystem described in this Complaint could not have occurred

18   without facilitation by Valve.
19          117.    Valve, a multi-billion dollar business that had actual knowledge of online
20
     gambling and the resulting harms to minor children, was slow to try to stop it and then took
21
     insufficient steps to do so, is in a superior position to parents, who were not aware that their
22
     children’s video games were fronts for online gambling, to stop Plaintiffs’ children from
23

24   engaging in illegal online gambling.

25          118.    The injuries that Plaintiffs and Class members sustained as a result of Valve’s

26   unlawful and unfair conduct outweigh any benefits that could be attributed to Valve’s conduct.



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 33                                                   KOEHLER MOORE
                                                                        413-8TH Street, Hoquiam, WA 98550
                                                                                 Tel: 360-533-271
 1
                                       COUNT II
 2                      VIOLATIONS OF THE GAMBLING ACT OF 1973,
                                    RCW 9.46 ET SEQ.
 3
            119.    Plaintiffs reallege and incorporate by reference the allegations contained in all
 4
     preceding and subsequent paragraphs, as if fully set forth herein.
 5
            120.    Skins are a thing of value because they may be converted to cash on various
 6
     marketplace websites, used as consideration in wagers on Skins gambling websites, and traded
 7
     on an open market, all using Valve’s Steam platform.
 8
            121.    Washington law provides that a person is engaged in “professional gambling”
 9
     when, “[a]cting other than as a player or in the manner authorized by this chapter, the person
10
     knowingly engages in conduct which materially aids any form of gambling activity.” RCW
11
     9.46.0269(1)(a).
12
            122.    Professional gambling is illegal under Washington law. RCW 9.46.220-222.
13
            123.    Valve engaged in professional gambling in the course of creating and maintaining
14
     an online gambling market which materially aided the operation of third-party Skins gambling
15
     websites and third-party Skins marketplace websites. Valve engaged in professional gambling
16
     by creating a crate-opening process that was the equivalent of an online slot machine and
17
     therefore gambling. Valve acted other than as a player and in a manner that was not authorized
18
     by the Gambling Act of 1973 or any other Washington law.
19
            124.    Valve failed to act in accordance with the rules and regulations of Washington’s
20
     Gambling Commission.       Valve did not obtain any gambling licenses from the Gambling
21
     Commission.
22
            125.    In violation of RCW 9.46.220, Valve, acting in concert with five or more people,
23
     engaged in professional gambling and knowingly caused, aided, abetted, and conspired with
24
     others to engage in professional gambling. Valve devised and created a common online gambling
25
     currency and built the platform for an online network of gambling games. The Skins Gambling
26
     Websites, their owners, and websites like OPSkins, among other actors, conspired with Valve to


     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 34                                                     KOEHLER MOORE
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                                                                                   Tel: 360-533-271
 1   offer gambling games on this network.
 2          126.    As a direct and proximate result of Valve’s violations of the Gambling Act,
 3   Plaintiffs and Class members sustained injuries, including out-of-pocket losses from their minor
 4   children using money provided by Plaintiffs and Class members for gambling, paying inflated
 5   prices for Skins because of their increased market value in the Skins Gambling economy,
 6   purchasing Skins and keys, and paying Skins-related fees.
 7          127.    Under RCW 9.46.200, Plaintiffs and Class members are entitled to money
 8   damages, plus statutory interest at a six percent rate, in an amount to be proven at trial, as well
 9   as reasonable attorneys’ fees.
10
                                             COUNT III
11                                      UNJUST ENRICHMENT

12          128.    Plaintiffs on behalf of themselves and the proposed Class, repeat and reallege all
13   preceding paragraphs as if fully set forth herein.
14
            129.    Plaintiffs and members of the proposed Class conferred a benefit on Defendant
15
     by providing funds to their minor children that were used to purchase video games, depositing
16
     money into their minor children’s Steam wallets and/or linking their credits and/or PayPal
17

18   accounts that were used for purchasing keys used for the gambling through the slot machine

19   lootbox process and/or for purchasing Skins that were ultimately used in playing games of chance

20   on various websites with which Valve had a financial relationship.
21
            130.    Valve has further benefited monetarily from unlawful and/or illegal conduct
22
     directed to consumers, including from Plaintiffs and members of the class. Because of the
23
     popularity of Valve’s slot machine-like lootbox opening process and online Skins gambling,
24
     Valve has received financial benefit from the sale of “keys” to open crates/loot boxes, increased
25

26   sales, increased exposure and a contract with TBS, purchases of CS:GO by third-party Skins



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 35                                                   KOEHLER MOORE
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 1   gambling and marketplace websites, fees from the sale of Skins, and fees from the sale of other

 2   items on the Steam Marketplace where users buy third party software using money in their Steam

 3   wallet from the sale of Skins, and from which Valve takes a fee.
 4            131.   Valve’s benefit came at the expense and detriment of Plaintiffs and Class
 5
     members.
 6
              132.   Valve has thus unjustly enriched itself in retaining the revenues derived from
 7
     Plaintiffs who unwittingly provided money to their minor children used for purchasing keys to
 8

 9   open crates/loot boxes, deposits, wagers, purchases, and gambling by Plaintiffs’ minor children

10   and the minor children of members of the proposed class.

11            133.   Retention of these funds under these circumstances is unjust and inequitable
12
     because Valve created an illegal and unconscionable gambling ecosystem while creating false
13
     impressions of safety and fair play on its Steam platform to Plaintiffs and other members of the
14
     proposed class, and has created an illegal international gambling economy operating in the United
15
     States and targeted at teenagers.
16

17            134.   Valve has benefited from its creation of an illegal gambling scheme through the

18   creation of Skins and the assistance provided to international companies that provide ways to
19   gamble Skins and convert in-game Skins into cash. Valve has also benefited from the creation
20
     of an illegal gambling market by inflating the value of Skins, something with no intrinsic value,
21
     which they then sell or facilitate selling for a fee. Valve has also benefited from the increased
22
     sales, increased exposure, marketing revenue, sponsorship revenue and other financial benefits
23

24   that CS:GO has brought Valve because of its popularity, which is due almost entirely to Skins

25   gambling. Valve has also benefited from the sale of “keys” to open crates/loot boxes as described

26   above.



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 36                                                   KOEHLER MOORE
                                                                        413-8TH Street, Hoquiam, WA 98550
                                                                                 Tel: 360-533-271
 1            135.   Plaintiffs and members of the Class were injured as a direct and proximate result

 2   of Valve’s illegal activities because they provided funds used to pay for items and wagers that

 3   were unregulated, illegal gambling activities ripe for fraud, abuse and theft, and with no way of
 4   knowing whether they were fairly run.
 5
              136.   Because Valve’s retention of the non-gratuitous benefit conferred on it by
 6
     Plaintiffs and the members of the Class is unjust and inequitable, Valve must pay restitution to
 7
     Plaintiffs and the members of the proposed class for its unjust enrichment, as ordered by the
 8

 9   Court.

10            137.   Equity and good conscience require that Valve disgorge profits made from its

11   illegal gambling activities, and Plaintiffs and members of the class further seek restitution on this
12
     basis.
13

14                                             COUNT IV
                                              NEGLIGENCE
15
              138.   Plaintiffs reallege and incorporate by reference the allegations contained in all
16

17   preceding and subsequent paragraphs, as if fully set forth herein.

18            139.   At all times relevant to this Complaint, Valve owed Plaintiffs and the proposed
19   Class a duty to use reasonable care to provide a reliable and safe videogaming experience, and
20
     to ensure that its Steam platform was used in a manner that comported with applicable law,
21
     including but not limited to the Washington Consumer Protection Act and Washington Gambling
22
     Act of 1973.
23

24            140.   Valve breached its duties to Plaintiffs and the proposed class by creating, allowing

25   and maintaining a system of Skins gambling that resulted in unregulated, third-party websites

26   harming Plaintiffs and the classes through rigged gambling websites, such as CS:GO Lotto and



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 37                                                     KOEHLER MOORE
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                                                                                   Tel: 360-533-271
 1   CS:Go Shuffle. Valve also breached its duties to Plaintiffs and the proposed class by creating a

 2   process for obtaining Skins that required purchasing keys from Valve to open crates/lootboxes,

 3   closely resembled slot machine play, and constituted illegal gambling.
 4          141.    Valve further assumed a duty of reasonable care to stop Skins gambling by taking
 5
     steps to stop it, and failing, and then not taking any more steps after that.
 6
            142.    Valve knew and/or should have known that minor children were using their
 7
     parents’ and/or guardians’ money, and that parents did not know their children were illegally
 8

 9   gambling online.

10          143.    Valve breached its duties to Plaintiffs and the Class as described above.

11          144.    As a direct and proximate result of Valve’s negligence, Plaintiffs and the proposed
12
     class suffered financial losses through the unregulated, rigged, unfair and unsafe Skins Gambling
13
     Websites.
14
                                               COUNT V
15                                        INJUNCTIVE RELIEF
16
            145.    Plaintiff realleges and incorporates by reference the allegations contained in all
17
     preceding and subsequent paragraphs, as if fully set forth herein.
18
            146.    Skins gambling websites are still operating on Valve’s servers using Valve
19
     accounts, resources and tacit consent to operate.
20

21          147.    Valve is also continuing to promote the risking of money to teenagers and legal

22   gambling age users to win high value Skins through an online slot machine as depicted and
23   described above.
24
            148.    Plaintiffs therefore request declaratory relief and/or for the Court to certify a class
25
     under F.R.C.P. 23(b)(2) and provide relief to Plaintiffs in the following ways.
26



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 38                                                     KOEHLER MOORE
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                                                                                   Tel: 360-533-271
 1             149.   Injunctive relief requiring Valve to provide complete and conspicuous

 2   disclosure prior to each loot box purchase and/or opening. Said disclosure shall include a list of

 3   all in game items potentially contained in each loot box, with the accompanying probability of
 4   each item being contained in a given loot box.
 5
               150.   Injunctive relief requiring Valve to disclose any sponsorship or other paid
 6
     relationships it has with professional gamers, Youtubers, or streamers. This shall include, but is
 7
     not limited to, persons who stream or post videos of themselves opening CS:GO loot boxes
 8

 9   online.

10             151.   Injunctive relief requiring Valve to establish a program that a) keeps a catalog of

11   all Steam accounts identified as being associated with gambling website or third party market
12
     place website b) suspends game-play for twenty-four hours and suspends item trading for one
13
     week for all Steam accounts that engaged in in game item trading with any account within one
14
     week of its identification as being associated with Skins gambling websites or third party
15
     marketplace websites.
16

17             152.   Injunctive relief requiring Valve to create and staff an internal team dedicated to

18   eliminating skins gambling and third-party skins marketplaces through changes to Steam
19   platform features, identifying and eliminating any Steam accounts associated with skins
20
     gambling sites and third-party skins marketplaces, and/or other technological practice changes
21
     to eliminate skins gambling and third-party skins marketplaces.
22
               153.   Injunctive relief requiring Valve to provide a modified version of its X-ray
23

24   scanner feature for all CS:GO players in the United States, free of charge, with its use subject

25   to a reasonably short cooldown period after each use.

26



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                            STRITMATTER KESSLER
     ACTION FOR DAMAGES - 39                                                     KOEHLER MOORE
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                                                                                   Tel: 360-533-271
 1          154.    Injunctive relief requiring Valve to place a limit of three loot box keys that may

 2   be obtained by a single Steam account within a twenty-four hour period, either through

 3   purchase directly from Valve, purchased from other Steam accounts on Valve’s “Steam
 4   Marketplace” network, or obtained through Steam’s item trading feature.
 5
            155.    Injunctive relief requiring Valve to place a limit of no more than three items that
 6
     can be traded during a twenty-four-hour period.
 7
            156.    Injunctive relief requiring Valve to redesign the loot box cinematic to eliminate
 8

 9   audio and visual elements analogous to those found in slot machines. This includes, but is not

10   limited to, the elimination of the scroll bar from the loot box cinematic that plays when Steam

11   users open loot boxes as well as any and all sounds from the cinematic.
12
            157.    Injunctive relief requiring Valve to restrict loot box key purchases and virtual
13
     item purchases to steam users who are age eighteen or older both directly from Valve and from
14
     other Steam users on its Steam Marketplace platform, and to verify their age by uploading a
15
     scanned copy of their photo ID at the time of their initial key purchase.
16

17          158.    Injunctive relief requiring Valve to restrict trading of CS:GO in game items to

18   steam users who are age eighteen or older, both directly from Valve and from other Steam
19   users on its Steam Marketplace platform, and to verify their age by uploading a scanned copy
20
     of their photo ID prior to activating the CS:GO item trading feature on their accounts.
21
            159.    Injunctive relief requiring Valve to cease and desist from selling and/or
22
     distributing CS:GO skins and loot box keys by any means, including but not limited to, direct
23

24   sales to Steam users, and from allowing the sale of CS:GO skins and loot keys between Steam

25   users in its Steam Marketplace platform.

26



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 40                                                   KOEHLER MOORE
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 1          160.    Injunctive relief requiring Valve to cease and desist from distributing loot boxes

 2   to Steam users by any means including, but limited to, random drops during game play, direct

 3   purchase from Valve, and sales between Steam users on Valve’s marketplace platform. Further
 4   requiring Valve to cease and desist from the sale of loot box keys to Steam users both directly
 5
     from Valve and between users on Valve’s Steam marketplace platform.
 6
            161.    Injunctive relief requiring Valve to cease and desist from allowing Steam users
 7
     to engage in one way trading, i.e. trades during which items are transferred from one Steam
 8

 9   account to another without any reciprocal item transfers, applicable to all CS:GO in game items

10   including, but not limited to, CG:GO skins, loot boxes, and loot box keys.

11          162.    Injunctive relief requiring Valve to cease and desist the sale of loot box keys
12
     either directly to Steam users, which may only be provided to Steam users by Valve as CS:GO
13
     gameplay achievement awards and random drops during CS:GO game play.
14
            163.    Any and all other commercially reasonable efforts to prevent illegal, online
15
     gambling by underage children, through lootbox or through third party websites.
16

17                                      PRAYER FOR RELIEF

18          WHEREFORE, Plaintiffs and members of the proposed class pray for relief and
19   judgment against Valve, as follows:
20
                    a.     For an order certifying the proposed classes, appointing Plaintiffs and their
21                         counsel to represent the proposed class and notice to the proposed classes
                           to be paid by Valve;
22
                    b.     For damages suffered by Plaintiffs and members of the proposed class;
23

24                  c.     For restitution to Plaintiff and the proposed class of all monies wrongfully
                           obtained by Valve;
25
                    d.     For injunctive relief requiring Valve to cease and desist from engaging in
26                         the unlawful, unfair, and/or deceptive practices alleged in the Complaint;



     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                          STRITMATTER KESSLER
     ACTION FOR DAMAGES - 41                                                   KOEHLER MOORE
                                                                        413-8TH Street, Hoquiam, WA 98550
                                                                                 Tel: 360-533-271
 1               e.     An order awarding declaratory relief, retrospective and prospective
                        injunctive relief as permitted by law or equity, including enjoining Valve
 2                      from continuing the unlawful practices as set forth herein, and injunctive
                        relief to remedy Valve’s past conduct;
 3
                 f.     For Plaintiffs’ reasonable attorneys’ fees, as permitted by law;
 4

 5               g.     For Plaintiffs’ costs incurred;

 6               h.     For pre-judgment and post-judgment interest at the maximum allowable
                        rate on any amounts awarded; and
 7

 8               i.     For such other and further relief that this Court deems just and proper
                        under equity or law.
 9

10         DATED this 31st day of September, 2020.

11
                                               By: /s/ Ray W. Kahler
12                                                Paul L. Stritmatter
                                                  Ray W. Kahler
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     PLAINTIFFS' FIRST AMENDED COMPLAINT - CLASS                      STRITMATTER KESSLER
     ACTION FOR DAMAGES - 42                                               KOEHLER MOORE
                                                                    413-8TH Street, Hoquiam, WA 98550
                                                                             Tel: 360-533-271
